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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


GIGI JORDAN,                                   :
   Plaintiff/Counterclaim-Defendant,           :
                                               :
              v.                               :        Civil Action No. 14-1485
                                               :
RAYMOND A. MIRRA, JR.,                         :
  Defendant/Counterclaim-Plaintiff.            :



                                          ORDER

       This 15th day of May, 2019, upon consideration of the Special Master’s Report and

Recommendation, and Plaintiff’s objections, it is hereby ORDERED that the objections are

overruled and the Report and Recommendation ADOPTED. It is further ORDERED as

follows:

       1.     Ms. Jordan’s request for the asset and liability documents of Atlas Respiratory
              Services, Inc.; Versatile Care Solutions, Inc.; Access Healthcare Services, LLC;
              Apogenics Healthcare, Inc.; BioMed Pharmaceuticals, Inc.; Access Therapeutics,
              Inc.; Alliance Ambulatory Infusion Center, LP; BioMed California, Inc.; BioMed
              Kansas, Inc.; BioMed Florida, Inc.; BioMed PA, Inc.; and BioMed Texas, Inc. is
              GRANTED. Mr. Mirra shall produce these documents within 60 days of the
              date of this Order.

       2.     By agreement of the parties, Ms. Jordan’s request for Mr. Mirra’s responses to
              Ms. Jordan’s 9/12/18 supplemental requests for the production of documents
              regarding Access Pharmaceutical Services, LLC; Bio-Medical Innovations, Inc.;
              Delta Laboratories, Inc.; Indago Healthcare of South Florida, Inc.; Integrated
              BioPharm Corporation, Inc.; LBC Credit Partners Parallel, LP; LMS America,
              Inc.; My Case LLC; New England Hemophilia and Thrombosis Network, Inc.;
              RAM Capital Group 2004 Trust; RAM Capital Holdings, LLC; and World Wide
              Health, Inc. is GRANTED. Mr. Mirra shall produce these documents within 60
              days of the date of this Order, and otherwise fully comply with prior
              representations that Defendant would supplement document production.




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      3.    Mr. Mirra’s objections to the production of documents identified in Appendix A
            of Ms. Jordan’s 9/19/18 Letter (ECF No. 288) are SUSTAINED as to entry
            No. 65 and DENIED as to entry Nos. 1-64 and 66-68. Mr. Mirra shall produce
            these documents within 60 days of the date of this Order.

      4.    Ms. Jordan’s request for a third-party vendor to forensically analyze
            Attorney Troilo and Mr. Tropiano’s email accounts and electronic devices is
            DENIED.

      5.    Ms. Jordan’s request for accounting records in Sage 50/Peachtree format is
            DENIED.

      6.    Ms. Jordan’s request for Mr. Mirra to complete the checklist contained within her
            5/8/18 and 9/12/18 requests for the production of documents is DENIED.

      7.    Ms. Jordan’s request to sanction Mr. Mirra for the production of his legal bills
            concomitantly with his Motion for Summary Judgment, including, but not limited
            to, the striking of the production, is DENIED.

      8.    Mr. Mirra’s request for sanctions due to the statements contained in Ms. Jordan’s
            1/23/19 Letter is DENIED.

      9.    Mr. Mirra’s request for more specific responses to his 8/22/18 interrogatories is
            GRANTED. Ms. Jordan shall produce these responses within 60 days of the
            date of this Order. In these responses, Ms. Jordan should explicitly identify the
            entities, assets, liabilities, and any other value that she claims was omitted from
            the SDA. Ms. Jordan will be precluded from presenting evidence during trial of
            any value not included in her 60-day supplement, absent leave of court.

      10.   Mr. Mirra’s request to depose Ms. Jordan regarding the preservation of personal
            emails is DENIED.

      11.   Mr. Mirra’s request for information regarding the process undertaken by
            Ms. Jordan to respond to his 8/1/18 requests for the production of documents is
            GRANTED in part and DENIED in part. Ms. Jordan may be deposed
            regarding the process she undertook to respond to the 8/1/18 requests for the
            production of documents, including but not limited to, the steps she took to
            review documents for responsiveness to the requests, whether she reviewed all
            documentation that was not produced in the civil RICO action, and whether she
            reviewed any electronic or non-public hard copy documents.

      12.   All other requests by either party to sanction either the opposing party or his/her
            respective counsel are DENIED.




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      13.   Discovery shall be extended for 90 days to facilitate the activities outlined
            herein including the deposition of Ms. Jordan.

      14.   The parties are precluded from serving additional discovery responses except for
            those mandated herein absent order of court.

      15.   The parties are precluded from serving additional discovery requests absent order
            of court.

      16.   Defendant shall respond on the merits to Plaintiff’s contention that Defendant
            should provide evidence that he personally paid the legal fees that are the subject
            of his counterclaim.

                                                   BY THE COURT



                                                        /s/ Gerald Austin McHugh
                                                  United States District Judge




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